         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 1 of 23




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00266 (TSC)
        v.                                    :
                                              :
BRANDON J. MILLER,                            :
                                              :
                Defendant.                    :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Brandon Miller to three months of home detention, thirty-six months of

probation, 60 hours of community service, $500 in restitution, and the $10 special assessment.

   I.        Introduction

        The defendant, Brandon Miller, and his wife and codefendant, Stephanie Miller,

(collectively “the Millers”) participated in the January 6, 2021 attack on the United States

Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred law enforcement officers, and resulted in more than one million

dollars’ of property damage.

        Brandon Miller pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating and Picketing in a Capitol Building. As explained herein, a sentence to home

detention is appropriate in this case because of his (1) wrongful entry through a window by the

Senate Wing door; (2) public broadcasting of his crimes over Facebook Live; and (3) statements

after January 6 showing pride rather than remorse or contrition for his criminal conduct. The

                                                  1
            Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 2 of 23




government recognizes that the Millers did not personally espouse violence or property

destruction and accepted responsibility early. Nonetheless, their conduct, like the conduct of

scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm law enforcement officials, breach the Capitol, and disrupt the

proceedings. But for his actions alongside so many others, the riot likely would have failed.

   II.       Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 35 (Statement of Offense), at 1-7. As this Court knows, a riot cannot

occur without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day.

   Brandon Miller’s and Stephanie Miller’s Role in the January 6, 2021 Attack on the Capitol

         On January 5, 2021, in what they characterized as a last-minute-decision, the Millers

traveled from Bradford, Ohio to Washington DC to attend a political rally on January 6, 2021 on

the National Mall. Following the rally, the Millers walked with a crowd to the U.S. Capitol.

Upon arriving at the Capitol, the Millers initially stood outside the building and observed people

climbing on the building’s walls. The Millers eventually followed a line of law enforcement

officers in riot gear from a distance to make their way through the crowd to get to the Capitol

building.

         The Capitol was initially breached by the Senate Wing door when a rioter kicked open a

window at approximately 2:13pm. Close to 45 minutes later, at approximately 2:56 p.m.

Brandon and Stephanie Miller both entered the U.S. Capitol by climbing through another broken




                                                  2
         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 3 of 23




window at the same location in the Capitol. The Millers are circled in red in photos below when

helpful to identify them.




       The Millers remained in the crowded hallway for a few minutes before walking toward

the Crypt.
                                               3
        Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 4 of 23




      The Millers passed through the Crypt at approximately 3:01p.m., walked through the

hallway by the Memorial Door and then walked into the hallway by the House Wing Door.




                                             4
         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 5 of 23




       While walking from the Crypt through the Hallway by the Memorial Door, Brandon

Miller broadcasted a video over “Facebook Live.” The video pans around the Capitol and

presents a first-person point of view of what Brandon Miller would have seen, including video of

Stephanie Miller alongside him. At the start of the video, Brandon Miller states “We made it


                                               5
         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 6 of 23




inside the Capitol.” Brandon Miller later claims over the video, “This is our building.” At

another point, a law enforcement officer appears to be directing people out of the building.

While walking past the officer, Brandon Miller can be heard, under his breath, stating “ah, Fuck

ya.” Neither Brandon Miller nor Stephanie Miller appear to resist, confront or assault law

enforcement officers.




       After reaching the hallway by the House Wing door, the Millers retraced their steps,

walking back through the hallway by the Memorial Door and into the Crypt. At approximately

3:06 p.m., the Millers again pass through the hallway by the Memorial Door, through the

hallway by the House Wing Door, and through the Hall of Columns to exit the Capitol.




                                                6
Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 7 of 23




                              7
         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 8 of 23




       At approximately 3:07pm, the Millers departed the U.S. Capitol through an exit at the

end of the Hall of Columns. The Millers were in the U.S. Capitol for just over ten minutes.

       Facebook eventually froze Brandon Miller’s account shortly after he broadcasted his live

video inside the Capitol. Earlier, on January 6, 2021, he posted the following message on his

account: “Don’t believe what the news s telling you and were listening to it now and it is biased.

I was there in DC. There is no way biden [sic] won.”

       Following his entry into the Capitol, Brandon Miller shared a number of direct messages

with his Facebook friends, in which he described his travels to Washington D.C., what happened

at the Capitol, leaving Washington D.C, and getting banned from Facebook. He also shared

private messages with several friends about his participation in the Capitol Riot. For instance, on

January 7, 2021, he wrote to one friend: “We was there it was peaceful yeah we got in the.

Capital [sic] but wasn’t burning down the city or destroying businesses just a couple broke

windows in a taxpayers building they work for us”. Also on January 7, he traded multiple



                                                 8
         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 9 of 23




messages with another friend about the Capitol Riot. He sent this friend a message stating

“Went in the capital [sic] building” with the below photograph of himself and Stephanie Miller:




Mr. Miller and this friend further traded messages about the poor reactions people had against

the rioters. When the friend wrote “I am getting attacked left and right”, Brandon Miller

responded, “Yeah I’ve seen that on Facebook … I can’t believe people can’t see what’s going on

in my opinion don’t think nothing will change unless we have a revolution /civil war”.

       Brandon Miller also used his telephone to communicate with others about going into the

Capitol. Brandon Miller had a lengthy text message exchange with one friend on January 6, 2021

about the Capitol Riot. When the friend suggested: “U better may [sic] low bro they going to

look for anyone in tha [sic] building,” Brandon Miller replied: “It’s bullshit. We did nothing

wrong.” Later in the same exchange, the friend texted Brandon Miller, “It’s time u were park

[sic] of a real revolution brother,” to which Brandon Miller replied, “Yeah Im glad I went”.


                                                 9
          Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 10 of 23




         Stephanie Miller likewise showed pride for her participation in going inside the Capitol.

A search of her phone revealed several direct messages over Facebook with friends in which she

discussed her participation in storming the Capitol. On January 8, 2021, she traded messages

with a friend about the mixed reactions she and Brandon Miller received from people about

going inside the Capitol. During the exchange, she wrote: “Thanks. Most of [sic] friends believe

the same as we do. A few people talked shit, but they can fuck off. We don’t care. We did hear

they were using face recognition to find all the people that were inside the capital and wanting to

charge them, so we’re hoping we don’t get charges, but we’ll proudly take them if so”. On

January 14, she sent one friend a message, stating, “I enjoyed every part of what we did and was

a part of. I honestly wouldn’t have went if it weren’t for brandon lol but It was an experience for

sure”.

                                    Stephanie Miller’s Interview

         At the time of her arrest on March 12, 2021, Stephanie Miller made a voluntary statement

to FBI agents, in which she admitted to entering the U.S. Capitol on January 6, 2021. She stated

that she and Brandon Miller drove to Washington D.C. on January 5, 2021 in a last minute

decision. After attending the political rally, they walked to the U.S. Capitol with the large crowd.

While outside the Capitol, they saw people scaling the building’s walls. She and Brandon Miller

entered the U.S. Capitol by climbing through a window, which she observed had previously been

broken. They returned to their home later that same day.

                            Brandon Miller’s post-guilty plea interview

         Pursuant to his plea agreement, Brandon Miller met with the FBI before his sentencing

date to discuss his activities on January 6, 2021. During the interview, he explained that going to

Washington D.C. for the political rally was a last-minute decision. On January 6, 2021, he and



                                                 10
           Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 11 of 23




his wife heard that people had gotten into the Capitol Building. While they were outside the

Capitol, they saw police officers in riot gear making their way through the crowd to get to the

Capitol. The Millers followed these officers from a distance as they approached the Capitol.

Once next to the Capitol Building, Brandon Miller asked Stephanie Miller what she wanted to

do, and she deferred to him. Brandon Miller said, “let’s go in,” and they entered the Capitol

through a broken window. He estimated that they were inside the Capitol for 10-15 minutes.

                                   The Charges and Plea Agreement

          On March 9, 2021, the government charged Brandon Miller by criminal complaint with

violating 18 U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On March

12, 2021, FBI agents arrested him at his home in Ohio. On March 30, 2021, he was charged by a

four-count Information with violating 18 U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C.

§§ 5104(e)(2)(D) and (G). On September 10, 2021, he pleaded guilty pursuant to a plea

agreement to Count Four of the Information, charging him with a violation of 40 U.S.C.

§ 5104(e)(2)(G), Parading, Demonstrating, or Picketing in a Capitol Building. He agreed to pay

$500 in restitution to the Department of the Treasury.

   III.      Statutory Penalties

          The Defendant faces sentencing on a single count of 40 U.S.C. § 5104(e)(2)(G). As noted

by the plea agreement and the U.S. Probation Office, Mr. Miller faces up to six months of

imprisonment and a fine of up to $5,000. He must also pay restitution under the terms of his or

her plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072,

1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines

do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.




                                                11
          Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 12 of 23




   IV.      Sentencing Factors Under 18 U.S.C. § 3553(a)

         In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). As explained

herein, the § 3553(a) factors weigh in favor of home detention in this case.

            A. The Nature and Circumstances of the Offense

         The attack on the U.S. Capitol, on January 6, 2021 was a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms. It was one of the only

times in our history when the building was occupied by hostile participants. The attack defies

comparison to other events. While each defendant should be sentenced based on their individual

conduct, each person who entered the Capitol on January 6 without authorization did so under

extreme circumstances. As they entered the Capitol, they would—at a minimum—have crossed

through numerous barriers and barricades and heard the throes of a mob. Depending on the

timing and location of their approach, they also may have observed extensive fighting with law

enforcement officials and smelled chemical irritants in the air. No rioter was a mere tourist that

day.

         Additionally, each defendant’s individual conduct should be assessed on a spectrum. In

fashioning a fair and just sentence, this Court should look to a number of critical factors, to

include: (1) whether, when, how the defendant entered the Capitol building; (2) whether the



                                                 12
        Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 13 of 23




defendant encouraged violence; (3) whether the defendant encouraged property destruction; (4)

the defendant’s reaction to acts of violence or destruction; (5) whether during or after the riot, the

defendant destroyed evidence; (6) the length of the defendant’s time inside of the building, and

exactly where the defendant traveled; (7) the defendant’s statements in person or on social

media; (8) whether the defendant cooperated with or ignored commands from law enforcement

officials; and (9) whether the defendant demonstrated sincere remorse or contrition. While these

factors are not exhaustive, they help to place each defendant on a spectrum as to their fair and

just punishment. Had the defendant personally engaged in violence or destruction, he or she

would be facing additional and more severe charges and/or penalties associated with that

conduct. The absence of violent or destructive acts on the part of the defendant is not a

mitigating factor in misdemeanor cases.

       The Millers entry into the Capitol was clearly wrongful. Prior to entering, they had seen

people climbing up the building’s walls. In order to get close to the Capitol building, they

followed a group of law enforcement officers in riot gear making their way to the Capitol. They

entered the building just before 3:00 p.m. by climbing through a broken window next to the

Senate Wing door. The room they entered was crowded and overflowing with other rioters.

Ultimately the Millers were inside the Capitol for a relatively short period of time; nonetheless,

in their persistence to enter the building, they clearly ignored multiple signs indicating it was

wrongful for them to do so.

       While inside the Capitol, Brandon Miller broadcasted his walk through the U.S. Capitol

over Facebook Live. In the video, he celebrates being inside the Capitol, claims the Capitol is

“our house,” and makes an obscene remark while passing a law enforcement officer. Such a




                                                 13
           Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 14 of 23




public display of his criminal behavior coupled with his self-serving justifications for his actions

warrants punishment.

       Moreover, the statements he made about entering the Capitol, while in private messages,

underscore his intent and pride for his actions. He downplayed the severity of the riot, which he

described to one friend as “just a couple broke windows in a taxpayers building they work for

us”. He lamented that people criticized his actions. He opined that “nothing will change unless

we have a revolution /civil war”. He expressed outrage at the notion of getting in trouble for

entering the Capitol, claiming “It's bullshit. We did nothing wrong.” He expressed approval at

the notion that he was involved in a revolution: “Yeah Im glad I went”.

       While the nature and circumstances of the offense could support a sentence of

incarceration, for misdemeanor defendants who, like Brandon Miller, committed fewer of the

aggravating factors listed above, the government recommends a more lenient sentence.

Accordingly, the nature and the circumstances of this offense establish the need for a sentence to

home detention in this matter.

             B. The History and Characteristics of the Defendant

       Brandon Miller is a 35-year-old man who has been married to his wife and codefendant,

Stephanie Miller, since July 14, 2018. The Defendant lives with and helps care for Stephanie

Miller’s thirteen-year-old son. Brandon Miller works as a dry wall finisher and has been working

to start his own dry wall business. According to his attorney, Mr. Miller started a new job on

November 2, 2021 and is working 40-48 hours per week.

       Branon Miller has been arrested a number of times for various municipal and traffic

related offenses as well as two criminal offenses. These charges, dates and dispositions are as

follows:



                                                 14
         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 15 of 23




       October 25, 2005, Driving Under Suspension, Sidney Municipal Court, $165 costs
       September 7, 2011, Failure to Control Dog, Darke Count Municipal Court, $25 fine, $115
        costs
       December 10, 2011, Failure to Control Dog – 2nd Offense, Darke County Municipal
        Court, 3 days jail (suspended), $75 fine, $200 costs, 1 year probation
       May 21, 2012, Failure to Control Dog, Darke County Municipal Court, 5 days jail
        (suspended), $75 fine, $364 costs, 1 year probation
       July 14, 2013, Driving while Suspended, Franklin Municipal Court, $100 fine, $184 costs
       March 20, 2015, Possession of Marijuana Drug Paraphernalia, $150 fine, $114 costs
       October 30, 2015, No Operator’s License, Taillight violation, Miami County Municipal
        Court, $60 fines, $96 costs
       January 6, 2020, Possession of Marijuana, Possession of Drug Paraphernalia, Miami
        County Muncipal Court, $100 fines, $79 costs
       April 18, 2021, “Hours/Parks,” Shelby County, OH, $10 fine, $66 costs

Mr. Miller’s convictions for Possession of Marijuana Drug Paraphernalia in 2015 and Possession

of Marijuana and Drug Paraphernalia in 2021 would be counted in a guidelines calculation,

pursuant to U.S.S.G. 4A1.1(c) which would have given him a criminal history score of 2 if the

U.S. Sentencing Guidelines applied. The Defendant also has a number of traffic infractions from

June 2002 through July 2021, including thirteen speeding tickets and ten other traffic infractions.

        The government also notes that Mr. Miller accepted an early opportunity to plead guilty,

acknowledge his criminal conduct, and promptly resolve his case. Additionally, he submitted to a

voluntary interview with FBI agents about his role in the Capitol riot.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds was an attack on the rule of law.

“The violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.”1 As with the nature and circumstances of the offense, this factor supports a


1
  Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),  available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
                                                15
          Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 16 of 23




sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of

the January 6 riot.

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                            General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the

most important factor for this Court to consider and the most compelling reason to impose a

sentence of incarceration. The violence at the Capitol on January 6 was intended to interfere, and

did interfere, with one of the most important democratic processes we have: the peaceful transfer

of power to a newly elected President. As noted by Judge Moss during sentencing, in United

States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared
         to attack the Capitol to prevent our elected officials from both parties from
         performing their constitutional and statutory duty, democracy is in trouble. The
         damage that [the defendant] and others caused that day goes way beyond the
         several-hour delay in the certification. It is a damage that will persist in this
         country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was

seven months ago for the United States and our diplomats to convince other nations to pursue

democracy. It means that it will be harder for all of us to convince our children and our




Testimony.pdf
                                                 16
        Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 17 of 23




grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70; see

United States v. Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on

this court have recognized, democracy requires the cooperation of the citizenry. Protesting in the

Capitol, in a manner that delays the certification of the election, throws our entire system of

government into disarray, and it undermines the stability of our society. Future would-be rioters

must be deterred.”) (statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. This was not a protest. See United

States v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument

can be made defending what happened in the Capitol on January 6th as the exercise of First

Amendment rights.”) (statement of Judge Moss). And it is important to convey to future potential

rioters—especially those who intend to improperly influence the democratic process—that their

actions will have consequences.

                                        Specific Deterrence

       Brandon Miller’s words and actions demonstrate the need for specific deterrence. While

he eventually accepted responsibility for his actions, his statements about his criminal behavior

at the time and in its immediate aftermath show a sense of righteousness rather than contrition.

He downplayed the damage done that day to a “few broken windows on a taxpayers house” and

lamented “We didn’t do anything wrong.” He told one friend: “I’m glad I went.” These

statements are additional aggravating circumstances in this case and suggest that Mr. Miller may

engage in similar conduct in the future if not sufficiently deterred.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as



                                                 17
        Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 18 of 23




in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with

Congress.2 Each offender must be sentenced based on their individual circumstances, but with

the backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a

spectrum that ranges from conduct meriting a probationary sentence to crimes necessitating years

of imprisonment. The misdemeanor defendants will generally fall on the lower end of that

spectrum, but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes. A

probationary sentence should not become the default.3 Indeed, the government invites the Court

to join Judge Lamberth’s admonition that “I don’t want to create the impression that probation is

the automatic outcome here because it’s not going to be.” United States v. Anna Morgan-Lloyd,

1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19; see also United States v. Valerie Ehrke, 1:21-cr-

00097 (PFF), Tr. 9/17/2021 at 13 (“Judge Lamberth said something to the effect . . . ‘I don’t

want to create the impression that probation is the automatic outcome here, because it’s not

going to be.’ And I agree with that. Judge Hogan said something similar.”) (statement of Judge

Friedman).




2
  Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also shows
that the requested sentence here would not result in unwarranted sentencing disparities.
3
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-
track” program and those who do not given the “benefits gained by the government when
defendants plead guilty early in criminal proceedings”) (citation omitted).


                                                 18
        Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 19 of 23




       In previous sentencing in January 6 cases, the government and the sentencing courts have

made meaningful distinctions between offenders. Those who engaged in felonious conduct are

generally more dangerous, and thus, treated more severely in terms of their conduct and

subsequent punishment. Those who trespassed, but engaged in aggravating factors, merit serious

consideration of institutional incarceration. Those who trespassed, but engaged in less serious

aggravating factors, deserve a sentence more in line with minor incarceration or home detention.

       Brandon Miller has pleaded guilty to Count Four of the Information, charging him with

Parading, Demonstrating and Picketing in a Capitol Building, a violation of 40 U.S.C.

§ 5104(e)(2)(G). This offense is a Class B misdemeanor, 18 U.S.C. § 3559. Certain Class B and

C misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply,

however.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long she remained inside, the nature of any statements she made (on social media or

otherwise), whether she destroyed evidence of his participation in the breach, etc.—help explain

the differing recommendations and sentences.         And as that discussion illustrates, avoiding

unwarranted disparities requires the courts to consider not only a defendant’s “records” and

“conduct” but other relevant sentencing criteria, such as a defendant’s expression of remorse or

cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir.




                                                19
        Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 20 of 23




2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike defendant,

pleaded guilty and cooperated with the government).

       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not yet

imposed.” United States v. Godines, 433 F.3d 68, 69–71 (D.C. Cir. 2006). “The most a judge can

do is consider those other sentences that do exist,” and “[t]he comparable sentences will be much

smaller in the early days of any sentencing regime than in the later.” Id.; see generally United

States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar cases

constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in sentences.”).

In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail ‘unwarranted’

disparities is to follow the Guidelines, which are designed to treat similar offenses and offenders

similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A sentence within

a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). Because the Sentencing Guidelines

do not apply here, the sentencing court cannot readily conduct a disparity analysis against a

nationwide sample of cases captured by the Sentencing Guidelines.

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on codefendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of legislative branch

of federal government, the vast size of the mob, the goal of impeding if not preventing the peaceful

transfer of Presidential power, the use of violence by a substantial number of rioters against law

enforcement officials, and large number of victims. Thus, even though many of the defendants



                                                 20
        Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 21 of 23




were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

       As the number of sentences in the Capitol breach misdemeanor cases increase and the

pool of comparators grows, the effect on sentences of obviously aggravating considerations

should become more apparent. The same is true for obviously mitigating factors, such as a

defendant’s efforts to prevent assaults on police. Here, the government’s recommendation would

not result in an unwarranted disparity. While no previously sentenced case contains the same

aggravating and mitigating factors present here, the Court should consider the sentence imposed

on Jessica Bustle, 21-cr-0238 (TFH) and Andrew Bennett, 21-cr-227 (JEB). Together, they

generally present similar sentencing recommendations for individuals who entered the U.S.

Capitol at later times, used Facebook to publicize their criminal conduct or livestreamed videos

of their criminal conduct, and/or initially expressed of lack of remorse but eventually entered a

guilty plea at an early stage to accept responsibility. Judge Hogan sentenced Jessica Bustle to 24

months of probation and two months of home detention, and Judge Boasberg sentenced Andrew

Bennett to 24 months of probation and three months of home detention.

       The Court should also consider the sentence to be imposed on Stephanie Miller. As of the

filing of this memorandum, Brandon Miller and Stephanie Miller are scheduled to be sentenced

at the same time. Although they participated in the Capitol Riot together, there are several

notable differences between them. Of the two, Brandon Miller is ultimately the one who

motivated them to travel to Washington D.C. and decided to go into the Capitol Building. While

Stephanie Miller was by all accounts a willing participant, as indicated by her messages,

Brandon Miller appears to have led their entry into the Capitol. Brandon Miller broadcasted their

walk through the U.S. Capitol over Facebook, making a very public record and presentation of



                                                21
         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 22 of 23




their criminal conduct. Finally, at the time of their arrest, Brandon Miller was not as forthright as

Stephanie Miller and should not receive the same credit for taking accountability for his actions.

However, he ultimately expressed his intent to plead guilty and accept responsibility for his

actions at the earlier opportunity to do so.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with

the result that “different district courts may have distinct sentencing philosophies and may

emphasize and weigh the individual § 3553(a) factors differently; and every sentencing decision

involves its own set of facts and circumstances regarding the offense and the offender.” United

States v. Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and

will sentence differently—differently from the Sentencing Guidelines range, differently from the

sentence an appellate court might have imposed, and differently from how other district courts

might have sentenced that defendant.” Id. at 1095.




                                                 22
         Case 1:21-cr-00266-TSC Document 49 Filed 12/08/21 Page 23 of 23




   V.      Conclusion

        Sentencing requires the Court to carefully balance the § 3553(a) factors. After a review of

those factors, the government recommends that the Court sentence Brandon Miller to thirty-six

months of probation, including three months of home detention, 60 hours of community service,

$500 in restitution, and $10 special assessment. Such a sentence protects the community,

promotes respect for the law, and deters future crime by imposing restrictions on his liberty as a

consequence of his behavior, while recognizing his early acceptance of responsibility.

                                             Respectfully submitted,

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                                                23
